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                    Exhibit 1
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From:                                 Kapke, Kara
Sent:                                 Wednesday, February 23, 2022 11:46 AM
To:                                   David J. Stanoch; Nicholas Migliaccio; Geman, Rachel; Springer, Alice;
                                      cgeddis@mazieslater.com; mgriffith@mazieslater.com
Cc:                                   valpec@kirtlandpackard.com; Richer, Kristen; Johnston, Sarah
Subject:                              FW: Letter from K. Kapke to PEC re Dismissal of CVS in MMMC.docx
Attachments:                          2022-02-17-Letter from K. Kapke to PEC re Dismissal of CVS in MMMC.pdf; Stipulation
                                      and Proposed Order Dismissing Claims Against CVS in MMMC.docx


Counsel: I’m following up on my letter below, requesting dismissal of CVS from the Medical Monitoring Complaint.

Kara M. Kapke | Partner
Mobile (317) 509-9545 | Fax (317) 231-7433
Direct (317) 231-6491 | Twitter @KaraKapke
http://www.btlaw.com/kara-kapke/
she/her/hers




Atlanta | California | Chicago | Delaware | Indiana | Michigan | Minneapolis
 Ohio | Raleigh | Salt Lake City | Texas | Washington, D.C.


From: Kapke, Kara
Sent: Thursday, February 17, 2022 1:43 PM
To: David J. Stanoch <d.stanoch@kanner-law.com>; Nicholas Migliaccio <nmigliaccio@classlawdc.com>; Geman, Rachel
<rgeman@lchb.com>; Adam Slater <aslater@mazieslater.com>; 'cgeddis@mazieslater.com'
<cgeddis@mazieslater.com>; 'mgriffith@mazieslater.com' <mgriffith@mazieslater.com>
Cc: Richer, Kristen <Kristen.Richer@btlaw.com>; Johnston, Sarah <Sarah.Johnston@btlaw.com>; Behrens, Beth
<Beth.Behrens@btlaw.com>; valpec@kirtlandpackard.com
Subject: Letter from K. Kapke to PEC re Dismissal of CVS in MMMC.docx

Counsel:

Please see attached letter requesting dismissal of CVS from the Medical Monitoring Complaint. A proposed order that
follows the template used for Walgreens and Rite Aid is also attached for your convenience.

Please let me know if you have any questions.

Thanks,
Kara

Kara M. Kapke | Partner
Mobile (317) 509-9545 | Fax (317) 231-7433
Direct (317) 231-6491 | Twitter @KaraKapke
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                                                               1
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 Ohio | Raleigh | Salt Lake City | Texas | Washington, D.C.




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                                                                                (310) 231-7433
                                                                                      284-3894

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Kara M. Kapke
Partner
(317) 231-6491
Kara.Kapke@btlaw.com



February 17, 2022

 David Stanoch, Esq.                                  Nicholas Migliaccio, Esq.
 Kanner & Whiteley, LLC                               Migliaccio & Rathod LLP
 d.stanoch@kanner_law.com                             nmigliaccio@classlawdc.com

 Adam Slater, Esq.                                    Rachel Geman, Esq.
 Christopher Geddis, Esq.                             Lieff Cabraser Heimann & Bernstein, LLP
 Griffith Michael, Esq.                               rgeman@lchb.com
 Mazie, Slater, Katz & Freeman LLC
 ASlater@mazieslater.com
 CGeddis@mazieslater.com
 mgriffith@mazieslater.com


         Re:      In re: Valsartan, Losartan, and Irbesartan Products Liability
                  Litigation, U.S. District Court for the District of New Jersey;
                  Case No. 1:19-md-02875-RBK-JS

Dear Counsel:

       Following the recent voluntary dismissals of medical monitoring class representatives
Richard O’Neill and Celestine Daring (Dkt. Nos. 1913 and 1914, respectively), I write on behalf
of CVS Pharmacy, Inc. (“CVS”) to request formal dismissal of CVS from the medical monitoring
master complaint (“MMMC”).

         As of today’s date, the only medical monitoring class representatives with claims asserted
against CVS in the MMMC are Paulette Silberman and Sylvia Cotton. See MMMC ¶ 27-28, 545(j).
Per our prior email correspondence dated November 8, 2021, and CVS’s Amended DFS, CVS
itself did not sell or dispense any Affected Drugs to Ms. Silberman. See Exs. 1 and 2 (Nov. email
and DFS). As noted therein, Ms. Silberman herself testified that she filled valsartan at a pharmacy
within a Quick Chek grocery store and never received valsartan from a CVS store. See Silberman
Tr. at 49 (“It was always QuickChek.”); see also id. at 131-132. Ms. Silberman also received
prescriptions through the mail from Express Scripts and has named them in the MMMC. See id.
at 39, 51-52; see also MMMC ¶ 84-88.
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Adam Slater
Christopher Geddis
Griffith Michael
David Stanoch
Nicholas Migliaccio
Rachel Geman
February 17, 2022
Page 2

        It is axiomatic that “a class representative must be part of the class” that he or she purports
to represent. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348 (2011). Thus, Ms. Silberman is
not a proper class representative for any medical monitoring claims against CVS.

        Likewise, Ms. Cotton is identified as a representative of a medical monitoring sub-class
for the State of Texas. However, Plaintiffs do not have any claims against CVS (or any pharmacy
defendant) under Texas law. See, e.g., Ex. A to Plaintiffs’ Medical Monitoring Class Certification
Motion, ECF No. 1750-1. A highlighted excerpt is provided below for your convenience:




This Exhibit also references the independent state law product liability act claims brought against
all defendants, but Texas is not included in that list. This Exhibit is consistent with rulings made
by the Court, including the Court’s dismissal of independent medical monitoring claims under
Texas law (as well as various other states) and dismissal of breach of implied warranty claims
against the pharmacy defendants under Texas law (as well as various other states). See ECF No.
775 at 4; see also ECF No. 776 at 3; ECF No. 838 at 32-33; and ECF No. 839 at 5. Therefore, Ms.
Cotton is also not a proper medical monitoring class representative as to the pharmacy defendants
and her claims against CVS should likewise be dismissed.




BARNES&THORNBURGLLP
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David Stanoch
Nicholas Migliaccio
Rachel Geman
February 17, 2022
Page 3

        Based on the foregoing, and given that there are no class representatives with live medical
monitoring claims against CVS in the MMMC, dismissal of CVS from the MMMC is warranted.
Please let me know whether Plaintiffs agree to dismiss CVS from the MMMC. I have enclosed a
proposed stipulation and order dismissing CVS from the MMMC. If Plaintiffs will not timely
agree, we will include this as an agenda item for the next Case Management Conference.

                                                      Very truly yours,



                                                       Kara M. Kapke

cc: valpec@kirtlandpackard.com

Enclosures




BARNES&THORNBURGLLP
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                     Exhibit 1
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From:                             Adam Slater <ASlater@mazieslater.com>
Sent:                             Monday, November 8, 2021 1:16 PM
To:                               Johnston, Sarah
Cc:                               Kapke, Kara; Richer, Kristen; Behrens, Beth; Christopher Geddis
Subject:                          [EXTERNAL]Re: Valsartan - DFS for P. Silberman


Adding Chris who runs this day to day. Thanks.

Adam M. Slater
Mazie Slater Katz & Freeman

Sent from my iPhone



       On Nov 8, 2021, at 1:06 PM, Johnston, Sarah <Sarah.Johnston@btlaw.com> wrote:


       Dear Adam:

       We write to amend the DFS for Paulette Silberman, a medical monitoring Plaintiff. Per the attached
       amendment, we have checked “no” to Question II.A, whether CVS sold or dispensed any Affected
       Drug. We previously checked “yes” to this question, as CVS does possess records for Ms. Silberman,
       which we have produced. These records, identified by Bates label
       CVS_MDL2875_DFS_SILBP0000000001, reference the QuickChek pharmacy and its Passaic location. As
       we now understand, however, CVS itself did not sell or dispense any Affected Drugs to Ms.
       Silberman. Ms. Silberman herself testified to this effect, as she filled valsartan at a pharmacy within a
       Quick Chek grocery store. See Silberman Tr. at 49 (“It was always QuickChek.”). Ms. Silberman testified
       that she has never received valsartan from a CVS and has never spoken to a pharmacist at CVS about
       valsartan. Id. at 131-132.

       Consistent with this testimony and our understanding, we will be serving the amended DFS for Ms.
       Silberman today. And given that Ms. Silberman has not purchased valsartan from CVS, we respectfully
       request that you withdraw her as a potential class representative against CVS, leaving only her claims
       against the other defendants in Paragraph 27 of the Third Amended Medical Monitoring Class Action
       Complaint.

       Please let us know if you would like to discuss further.

       Thank you,
       Sarah

       Sarah Johnston | Partner
       Barnes & Thornburg LLP
       2029 Century Park East Suite 300, Los Angeles, CA 90067
       Direct: (310) 284-3798 | Mobile: (310) 600-5530


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computer system. We do not waive attorney-client or work product
privilege by the transmission of this message.
<Second Amended DFS Response - Paulette Silberman - CVS Retail(21295831.1).pdf>




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



    IN RE: VALSARTAN, LOSARTAN,
                                                                              No. 1:19-md-2875-RBK
    AND IRBESARTAN PRODUCTS
                                                                               Hon. Robert Kugler
    LIABILITY LITIGATION
                                                                               Hon. Joel Schneider

                                                                         PHARMACY DEFENDANTS’
                                                                            SECOND AMENDED
                                                                          EXEMPLAR DEFENDANT
                                                                               FACT SHEET



        In accordance with the Court’s August 6, 2020 Order (Dkt. 546), within 60 days of
completion of a Plaintiff’s Fact Sheet, each Pharmacy or Retailer Defendant (“Pharmacy
Defendant”) identified in the applicable Plaintiff Fact Sheet (“PFS”) must complete and serve this
Exemplar Defendant Fact Sheet (“EDFS”) on each Plaintiff’s counsel identified in the PFS and on
the Plaintiffs’ Executive Committee through MDL Centrality. This EDFS applies only to those
cases specifically referenced in the Court’s January 30, 2020 Order (Dkt. 360), which limited the
Pharmacy Defendants’ Fact Sheet obligations to: (1) Defendant Fact Sheets produced in response
to Plaintiff Fact Sheets submitted by putative class representatives; and (2) to a representative
group of 20 personal injury plaintiffs, to be identified by the Plaintiffs’ Executive Committee.1

         The 60-day time period for each Pharmacy Defendant to prepare and produce an EDFS
shall begin no earlier than (1) August 15 for the putative class representative plaintiffs; and (2)
August 31 for the personal injury plaintiffs, provided Plaintiffs’ Executive Committee has
identified those plaintiffs to counsel for the Pharmacy Defendants by that date. Further, and
consistent with the terms of the Court-approved PFS, entered October 28, 2019 (Dkt. 283), no
Defendant will be required to serve an EDFS until Plaintiff supplies a substantially completed and
verified PFS. The determination whether a PFS is “substantially complete” shall be made in
accordance with the process set forth in the Court-approved PFS (CMO 16). Plaintiffs understand
that the Pharmacy Defendants have coordinated with all Wholesaler and Manufacturer Defendants
in any cases in which they are named to review Plaintiff Fact Sheets and identify any deficiencies,
and that the Defendants have and will continue to serve joint deficiency notices as to each PFS
served. Defendants will continue to use this coordinated process for identifying PFS deficiencies,
and nothing shall prohibit the Pharmacy Defendants from continuing to rely on a coordinated
deficiency notice for purposes of arguing that a PFS is not substantially complete.
1
 The Pharmacy Defendants’ position is that the questions set forth herein may be unduly burdensome if the Pharmacy
Defendants are required to answer these same questions for all Plaintiffs in this litigation, rather than the initial small
subset contemplated by the Court’s January 30 Order. The Parties agree to meet and confer on the scope and/or
deadlines associated with this DFS if the Court orders Defendants to respond to all Plaintiffs’ PFS.
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       Each response must provide the substantive information requested to the extent the
information is reasonably accessible to the responding Defendant as maintained in the responding
Defendant’s central, non-custodial files, and as maintained in the ordinary course of business. The
responding Defendant need not search store-level or custodial data for purposes or responding to
this DFS. Defendants represent that the information sought herein ordinarily is kept in non-
custodial, centrally stored databases, to the extent the information is maintained at all. If
applicable, and in lieu of answering the questions set forth below, the responding Defendant may
produce and cite to produced documents or business records by Bates number in accordance with
Federal Rule of Civil Procedure 33(d).

      In filling out this form, Defendants must respond on the basis of information and/or
documents that are reasonably available to the Defendant and use the following definitions:

“AFFECTED DRUGS”: The Valsartan-containing drugs identified in the PFS and confirmed by
attached pharmacy records, to the extent National Drug Code(s) (NDC) or other identifiers allow
confirmation of drug source. For purposes of the EDFS, “Affected Drugs” is limited to only those
drugs with a NDC associated with any of the Manufacturer Defendants identified in Plaintiffs’
Master Complaints. If a Pharmacy Defendant cannot conclude that it sold the Valsartan-containing
drug identified in a Plaintiff’s PFS, it shall so state herein.

“AFFECTED API”: The Valsartan API for any Affected Drug(s).

“DOCUMENTS”: “Documents” as used in this request is coextensive with the meaning of the
terms “documents,” “electronically stored information” and “tangible things” as used in the
Federal Rules of Civil Procedure, and shall have the broadest possible meaning and interpretation
ascribed to those terms. To the extent “Documents” refers to electronically stored information,
the scope shall be interpreted as consistent with the scope of communications contemplated by the
Electronic Discovery Protocol (Dkt. 127) agreed to by the parties.

“PLAINTIFF”: Means the Plaintiff who took the Affected Drug in the individual action to which
this DFS relates. Plaintiff does not include any estate representative, spouse or other individual
asserting derivative or representative claims on behalf of the individual who took the Affected
Drugs identified in the PFS.

“YOU,” “YOUR,” or “YOURS”: Means the responding Defendant.




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I.       CASE INFORMATION

         This DFS pertains to the following case: Paulette Silberman, No. 19-md-2875

         Date that this DFS was completed: November 8, 2021

         Defendant completing this DFS: CVS Pharmacy, Inc. (“CVS”)

II.      PHARMACY DEFENDANTS

         A.       Based on the information provided by Plaintiff through the PFS, can you
                  determine that you sold and/or dispensed any Affected Drug(s)?

                  Yes ____ No         X

         B.       If your answer to Question II(A) was “yes,” please produce dispensing records
                  and/or provide information from your centrally stored records sufficient to
                  identify the following information. To the extent the dispensing records in
                  your possession responsive to this question are identical to those already
                  produced by the Plaintiff with his/her PFS and contain the information set
                  forth below, you may state as much below.2

                  1.       The NDC of the Affected Drug(s) you determined that you sold and/or
                           dispensed to Plaintiff, and the entity to whom the NDC is registered;

Not Applicable.


                  2.       Identify the manufacturer of the Affected API.

Not Applicable.


                  3.       The name and address of the stores (or remote order fulfilment
                           location) that dispensed the Affected Drug(s), including any store
                           identifiers (e.g., Pharmacy No. 123);

Not Applicable.


                  4.       The date(s) on which the Affected Drug(s) were dispensed.

Not Applicable.



2
 To the extent you rely on this provision in lieu of producing dispensing records, you must agree to stipulate to the
authenticity of the dispensing records.


                                                          3
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              5.     The batch number, lot number, and expiry date for Affected Drugs
                     dispensed on each dispensation date;

Not Applicable.


              6.     The quantity of Affected Drug(s) dispensed on each dispensation date.

Not Applicable.


              7.     The amounts paid by Plaintiff for the Affected Drug(s) on each
                     dispensation date; and

Not Applicable.


              8.     Which of the Affected Drug(s) were recalled by you, if any, and the
                     date(s) of recall.

Not Applicable.


       C.     Identify the entity or entities from which you purchased each Affected Drug(s)
              listed in response to Question II(A) and (B), the full chain of distribution as
              high in the distribution chain as your records or other information available
              to you demonstrate for each Affected Drug. In responding to this question,
              you may refer to any purchase records produced by you in response to Request
              for Production No. 1 of Plaintiffs’ Second Amended Set of Requests for
              Production of Documents to the Retail Pharmacy Defendants (Dkt. 508-1). To
              the extent you refer to any such production, your response should contain
              sufficient information to permit the reviewing party to locate the data
              contained in any document referred to in your response.

Not Applicable.


       D.     Did you send any recall communication to the Plaintiff regarding any recall of
              Valsartan and/or any potential Valsartan impurities? If yes, provide the
              date(s) on which you sent such communication to the Plaintiff. If available,
              provide a copy of the communication(s), letter(s), or template letter(s) sent to
              the Plaintiff relating to any recall of Valsartan and/or any potential Valsartan
              impurities. If no such copy of the communication(s) or letter(s) sent to the
              Plaintiff is available, state as much in your response to this question.

Not Applicable.



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       E.     Did Plaintiff return any Affected Drugs listed in response to Question II.A or
              II.B to you due to any product recall?

              Yes____ No____ Don’t know____

                     If yes, please identify and produce:

                     a.     The date you regained possession or control of the drugs, if
                            returned to you;

                     b.     The current location of the drugs; and

                     c.     The date and result of any nitrosamine-related testing, if any,
                            done by you on the returned or retained drugs, as by the Court’s
                            Order on macro discovery (Dkt. 303, ¶ 8).

Not Applicable.
       F.     To the extent you performed testing on the returned Affected Drug, as
              referenced in Question II.E.c, state whether you supplied each test result
              identified in response to Question II.E.c to the FDA or to any other entity or
              person (e.g., your actual or prospective customers), and, if so, identify the test
              result, and provide the recipient of the test result, date of communication and
              content of the communication.

Not Applicable.


       G.     Answer only if Plaintiffs answered “yes” and provided sufficient information in
              response to question III.B.7 and its subparts in the PFS: Have you ever been
              contacted through the customer call or contact centers by Plaintiff or by
              anyone acting on behalf of Plaintiff (other than Plaintiff’s counsel) regarding
              the Affected Drugs at any time from the date Plaintiff began taking
              valsartan-containing drugs through the present?
              Yes____ No____ Don’t know ____

              If yes, produce all Documents evidencing that contact, including video or audio
              recording of such contacts.

Not Applicable.


       H.     Produce any document created before the filing of this lawsuit that refers to
              Plaintiff and the contamination or recall of Valsartan, other than documents
              received or produced in discovery in this matter. You need not search for or
              produce record authorization requests in responding to this question. In
              responding to this request, Defendants will search and produce responsive



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               documents from their customer call center records, customer contact center
               records, and central complaint files.

Not Applicable.


       I.      Subject to limitations set forth in this fact sheet concerning timeframes and
               categories of relevant information, please produce any recall advisory
               communication regarding the Affected Drug sent to or received from any of
               Plaintiff’s Prescribing Health Care Providers identified in the PFS and/or
               Primary Treating Physician identified in the PFS. To the extent the exact
               copy of any such communication is not reasonably available, please produce
               the template of any such letter.

Not Applicable.
                                      *       *       *
Discovery in this matter is ongoing. CVS reserves the right to supplement its response at a later
date, if applicable.




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                                       VERIFICATION

       I am Legal Counsel for CVS Pharmacy, Inc., a Defendant named in this litigation. I am

authorized by this Defendant to execute this certification on each corporation’s behalf. I hereby

certify that the information provided in the accompanying Response to Defendants’ Fact Sheet is

not within my personal knowledge, but the facts state therein have been assembled by authorized

employees and counsel, upon which I relied. I hereby certify, in my authorized capacity, that the

responses to the aforementioned Defendants’ Fact Sheet are true and complete to the best of my

knowledge on information and belief.



Date: November 8, 2021                      ______________________________
                                                  Signature

Name: Sarah E. Johnston

Employer: Barnes & Thornburg LLP

Title: Partner




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                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE


                                                   Case No. 19-md-2875-RBK
  IN RE: VALSARTAN, LOSARTAN,AND                   MDL No. 2875
  IRBESARTAN PRODUCTS LIABILITY
  LITIGATION                                       Honorable Robert B. Kugler,
                                                   District Court Judge



  This Document Relates to All Actions


JOINT STIPULATION REGARDING DISMISSAL OF CVS PHARMACY, INC. FROM
           THE MEDICAL MONITORING MASTER COMPLAINT

       WHEREAS, Plaintiffs have named CVS Pharmacy, Inc. (“CVS”) as a defendant in the

Consolidated Third Amended Medical Monitoring Class Action Complaint, ECF 1709 (“Medical

Monitoring Master Complaint”);

       WHEREAS, on February 14, 2021, putative medical monitoring class representative

Richard O’Neill voluntarily dismissed his case, ECF 1913;

       WHEREAS, on February 14, 2021, putative medical monitoring class representative

Celestine Daring voluntarily dismissed her case, ECF 1914;

       WHEREAS, with the dismissal of Plaintiffs O’Neill and Daring, none of the putative

medical monitoring class representatives filled an at-issue prescription at CVS and/or have any

live medical monitoring claims asserted against CVS; and
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       WHEREAS, Plaintiffs will stipulate to the voluntary dismissal of CVS from the Medical

Monitoring Master Complaint.

       It is hereby STIPULATED AND AGREED by and among the undersigned counsel as

follows:

       1.     Plaintiffs will dismiss CVS from the Medical Monitoring Master Complaint.

       2.     This dismissal shall be without prejudice, with each party to bear its own attorneys’

              fees and costs.


IT IS SO STIPULATED.

DATED: February 16, 2020                   By:
                                                 Adam Slater
                                                 MAZIE, SLATER, KATZ &FREEMAN LLC
                                                 Liaison Counsel for Plaintiffs
                                                 103 Eisenhower Pkwy, 2nd Flr.Roseland, NJ
                                                 07068
                                                 Phone (973) 228-9898
                                                 ASlater@mazieslater.com




DATED: February 16, 2022                   By:
                                                 Sarah Johnston
                                                 Kara Kapke
                                                 BARNES & THORNBURG LLP
                                                 Attorneys for CVS Pharmacy, Inc.
                                                 2029 Century Park E., Suite 300
                                                 Los Angeles, CA 90067
                                                 Phone (310) 284-3798
                                                 Sarah.Johnston@btlaw.com
                                                 Kara.Kapke@btlaw.com




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                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE


                                                   Case No. 19-md-2875-RBK
  IN RE: VALSARTAN, LOSARTAN,AND                   MDL No. 2875
  IRBESARTAN PRODUCTS LIABILITY
  LITIGATION                                       Honorable Robert B. Kugler,
                                                   District Court Judge



 This Document Relates to All Actions




                                    [PROPOSED] ORDER

          AND NOW, on this                day of                              2022,       upon

 consideration of the attached Stipulation, which applies to Civil Action No. 19-md-2875, it is

 hereby ORDERED that the Stipulation is APPROVED and CVS Pharmacy, Inc. is hereby

 dismissed from the Medical Monitoring Master Complaint without prejudice, with each party

 to bear its own attorneys’ fees and costs.


          It is so ORDERED.


 Dated:
                                                     Hon. Robert B. Kugler




                                               3
